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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                             01/11/2021

ANHUI KONKA GREEN LIGHTING CO., LTD.

                                                Plaintiff,                      ORDER RESCHEDULING CASE
                                                                                MANAGEMENT CONFERENCE
                             -against-
                                                                                  18-CV-12255 (MKV) (KHP)
GREEN LOGIC LED ELECTRICAL SUPPLY, INC., et al.

                                                Defendants.

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KATHARINE H. PARKER, UNITED STATES MAGISTRATE JUDGE

         The telephonic Case Management Conference scheduled for Tuesday, January 19, 2021

at 4:00 p.m. is hereby rescheduled to Tuesday, January 19, 2021 at 2:00 p.m. Counsel for the

parties are directed to call Judge Parker’s court conference line at the scheduled time. Please

dial (866) 434-5269, Access code: 4858267.


         SO ORDERED.

Dated: January 11, 2021
       New York, New York

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                                                                     KATHARINE H. PARKER
                                                                     United States Magistrate Judge
